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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 STEPHEN MARK BARMGARDNER,
                                                 Case No. 1:24-cv-00246-AKB
                       Plaintiff,
                                                 ORDER FOR IN FORMA PAUPERIS
        v.                                       STATUS AND WITHDRAWAL OF
                                                 INMATE FILING FEE FROM PRISON
 IDAHO DEPARTMENT OF                             TRUST ACCOUNT
 CORRECTION,

                       Defendant.


       Plaintiff Stephen Mark Baumgardner (Inmate No. 80245), a prisoner in the

custody of the Idaho Department of Correction, has filed a Complaint in the United States

District Court for the District of Idaho. Plaintiff has also filed a Statement of Prisoner

Trust Fund Account, which the Court construes as an Application to Proceed in Forma

Pauperis.

       Good cause appearing from the documentation Plaintiff has submitted, the Court

will grant the Application. The filing fee of $350.00 will be deducted from Plaintiff’s

prison trust account in increments until the fee is paid in full, as the in forma pauperis

statute requires, regardless of whether the case is authorized to proceed or is dismissed.

See 28 U.S.C. § 1915(b)(1).

       Plaintiff has not been assessed an initial partial filing fee. Pursuant to 28 U.S.C.

§ 1915(b)(1), Plaintiff is obligated to make monthly payments of 20% of the preceding

month’s income credited to Plaintiff’s account. See 28 U.S.C. § 1915(b)(2).


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       Pursuant to 28 U.S.C. § 1915(b)(2), the agency having custody of Plaintiff is

required to send to the Clerk of Court payments from Plaintiff’s prison trust

(commissary) account each time the amount in the account exceeds $10.00, until the

statutory filing fee of $350.00 is paid in full.

        If Plaintiff has more than one Order for Payment of Inmate Filing Fee pending,

then the law requires that Plaintiff pay towards as many of the outstanding fee orders as

Plaintiff can afford each month, using the above formula for each case. See Bruce v.

Samuels, 136 S. Ct. 627 (2016) (rejecting the view that a prisoner with multiple lawsuits

is entitled to have the fee deducted for only one lawsuit at a time). Because multiple

outstanding fee orders at 20% could equal 100% of a prisoner’s income (especially if

other obligations such as victim compensation and child support are deducted each

month), then payments must be forwarded to satisfy up to the first five orders

simultaneously until at least one is satisfied in full, and then payment on the sixth and any

subsequent orders can begin to be deducted from the prisoner’s account.

       ACCORDINGLY, IT IS ORDERED:

       1.      Plaintiff’s Application to Proceed in Forma Pauperis (Dkt. 2) is

               GRANTED.

       2.      The Director of the Idaho Department of Correction or a designee will

               collect from Plaintiff’s prison trust account the $350.00 balance of the

               filing fee and will forward payments to the Clerk of Court in accordance

               with 28 U.S.C. § 1915(b)(2). The payments must be clearly identified by

               the name and number assigned to this action. If multiple payments are

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            forwarded to the Clerk of Court to satisfy filing fees in more than one case,

            each payment must be clearly identified by the name and number assigned

            to each action.

    3.      The Clerk of Court is directed to serve a copy of this order on the Director

            of the Idaho Department of Correction, as follows:

                   Josh Tewalt, Director
                   Idaho Department of Correction
                   Attn: Inmate Accounts
                   1299 N. Orchard, Suite 110
                   Boise ID 83706.



                                               DATED: May 31, 2024


                                               _________________________
                                               Amanda K. Brailsford
                                               U.S. District Court Judge




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